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  6               UNITED STATES DISTRICT COURT FOR THE
                    CENTRAL DISTRICT OF CALIFORNIA
  7

  8   STUDENT DOE #3,

  9         Plaintiff,
                                                    Case No ._____________
 10                 v.

 11   KRISTI NOEM, in her official
      capacity as Secretary of Homeland
 12   Security; the DEPARTMENT OF
      HOMELAND SECURITY; and
 13   TODD LYONS, in his official
      capacity as Acting Director of U.S.
 14   Immigration and Customs
      Enforcement,
 15
      Defendants.
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  1                                    INTRODUCTION

  2         1.     Plaintiff Student Doe # 3 is a recent doctoral student in lawful F-1

  3   status, participating in Optional Practical Training (OPT), a benefit available to

  4   international students in F-1 status that allows them to work in the U.S. in their

  5   field of study, either before or after completing their studies. They are one of

  6   hundreds, if not more, F-1 students nationwide whose SEVIS record has been

  7   abruptly and unlawfully terminated by U.S. Immigration and Customs

  8   Enforcement (ICE) since March 25, 2025, effectively stripping them of their ability

  9   to remain in student status in the United States.

 10         2.     The Student and Exchange Visitor Information Systems (SEVIS) is a

 11   government database that tracks international students’ compliance with their F-1

 12   status. ICE, through the Student and Exchange Visitor Program (SEVP), uses

 13   SEVIS to monitor student status. Following the revocation of their visa, SEVP

 14   terminated Plaintiff’s SEVIS record and marked Plaintiff as “otherwise failing to

 15   maintain status; individual identified in criminal record check; SEVIS record has

 16   been terminated.”

 17         3.     The termination of a SEVIS record effectively ends F-1 student

 18   nonimmigrant status. Even when a visa is revoked, however, ICE is not authorized

 19   to terminate Plaintiff’s student status. The grounds cited by ICE in the SEVIS

 20   termination do not provide legal authority to terminate Plaintiff’s SEVIS record.

 21   An F-1 visa controls a student’s entry into the country, not their continued lawful

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  1   presence once admitted. Plaintiff was in full compliance with the terms of their F-

  2   1 status and had not engaged in any conduct that would warrant termination of

  3   their status.

  4          4.       Rather, DHS’s policy of unlawfully terminating SEVIS records based

  5   on visa revocations appears to be designed to coerce students, including Plaintiff,

  6   into abandoning their studies and “self-deporting” despite not violating their status.

  7   If ICE believes a student is deportable for having a revoked visa, it has the

  8   authority to initiate removal proceedings and make its case in court. It cannot,

  9   however, misuse SEVIS to circumvent the law, strip students of status, and drive

 10   them out of the country without process.

 11          5.       Since March 25, 2025, visa revocations and SEVIS terminations have

 12   shaken campuses across the country and California, including those in the

 13   University of California system and Stanford University.1 On information and

 14

 15   1
        See Binkley, Collin, Annie Ma, and Makiya Seminera, Federal officials are
      quietly terminating the legal residency of some international college students,
 16   Associated Press, April 4, 2025, https://apnews.com/article/college-international-
      student-f1-visa-ice-trump-7a1d186c06a5fdb2f64506dcf208105a; Kaleem, Jaweed,
 17   Trump administration cancels dozens of international student visas at University of
      California, Stanford, Los Angeles Times, April 5, 2025,
 18   https://www.latimes.com/california/story/2025-04-05/trump-administration-
      cancels-international-student-visas-university-of-california-stanford;
 19

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  1   belief, this policy appears to be primarily targeting African, Arab, Middle Eastern,

  2   Muslim, and Asian students. The SEVIS terminations have taken place against the

  3   backdrop of numerous demands being made of universities by the federal

  4   government and threats of cutting off billions of dollars in federal funding. They

  5   have created chaos as schools have attempted to understand what is happening and

  6   do their best to inform and advise students.

  7         6.     Plaintiff does not challenge the revocation of their visa in this action.

  8   Rather, Plaintiff brings this action under the Administrative Procedure Act (APA),

  9   the Fifth Amendment to the U.S. Constitution, and the Declaratory Judgment Act

 10   to challenge ICE’s illegal termination of their SEVIS record.

 11                             JURISDICTION AND VENUE

 12         7.     This Court has jurisdiction over the present action based on 28 U.S.C.

 13   § 1331 (federal question), 28 U.S.C. § 1346(b) (federal defendant), and 28 U.S.C.

 14   § 2201-2 (authority to issue declaratory judgment when jurisdiction already exists).

 15         8.     Venue is properly with this Court pursuant to 28 U.S.C. § 1391(e)

 16   because this is a civil action in which Defendants are employees or officers of the

 17   United States, acting in their official capacity; and because Plaintiff resides in the

 18   Inland Empire, which is located within the Central District of California, and there

 19   is no real property involved in this action.

 20                                         PARTIES

 21         9.     Student Doe #3 is enrolled in OPT after the completion of study at a

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  1   university in Los Angeles. They reside in Orange County. Student Doe #3 seeks to

  2   proceed in this action with a pseudonym due to fear of retaliation by Defendants

  3   for asserting their rights through this lawsuit, and of harassment or blacklisting by

  4   third parties.2

  5            10.   Defendant U.S. Department of Homeland Security (“DHS”) is a

  6   cabinet-level department of the Executive Branch of the federal government and is

  7   an “agency” within the meaning of 5 U.S.C. § 551(1). DHS includes various

  8   component agencies, including U.S. Immigration Customs and Enforcement

  9   (“ICE”).

 10            11.   Defendant Kristi Noem is the Secretary of Homeland Security and has

 11   ultimate authority over DHS. In that capacity and through her agents, Defendant

 12   Noem has broad authority over the operation and enforcement of the immigration

 13   laws. Defendant Noem is sued in her official capacity.

 14            12.   Defendant Todd Lyons is the Acting Director of ICE and has

 15   authority over the operations of ICE. In that capacity and through his agents,

 16   Defendant Lyons has broad authority over the operation and enforcement of the

 17   immigration laws. Defendant Lyons is sued in his official capacity. ICE is

 18   responsible for the termination of Student Doe #3’s SEVIS record.

 19                                  LEGAL FRAMEWORK

 20

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      2
          Plaintiff will separately file a motion to proceed pseudonymously.
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  1             13.   A nonimmigrant visa controls a noncitizen’s admission into the

  2   United States, not their continued stay. Congress established a statutory basis for

  3   student visas under 8 U.S.C.§ 1101(a)(15)(F)(i), requiring that a noncitizen engage

  4   in a full course of study to maintain nonimmigrant status. Once admitted in F-1

  5   status, a student is granted permission to remain in the United States for the

  6   duration of status (D/S) as long as they continue to meet the requirements

  7   established by the regulations governing their visa classification in 8 C.F.R. §

  8   214.2(f), such as maintaining a full course of study and avoiding unauthorized

  9   employment.

 10             14.   An international student who has completed study may be eligible for

 11   OPT, which allows foreign nationals on an F–1 student visa to engage in

 12   employment during and/or after completing a course of study at a U.S. educational

 13   institution. See 8 C.F.R. § 214.2(f)(10)(ii). SEVIS enrollment must be valid in

 14   order for OPT employment to be authorized.

 15             15.   The SEVIS is a centralized database maintained by the SEVP within

 16   ICE used to manage information on nonimmigrant students and exchange visitors

 17   and track their compliance with terms of their status. Under 8 C.F.R. § 214.3(g)(2),

 18   Designated School Officials (DSOs) must report through SEVIS to SEVP when a

 19   student fails to maintain status. SEVIS termination is governed by SEVP policy

 20   and regulations. Termination must be based on a student’s failure to maintain

 21   status.

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  1         16.    DHS regulations distinguish between two separate ways a student

  2   may fall out of status: (1) a student who “fails to maintain status,” and (2) an

  3   agency-initiated “termination of status.”

  4         17.    The first category, failure to maintain status, involves circumstances

  5   where a student voluntarily or inadvertently falls out of compliance with the F-1

  6   visa requirements, for example by failing to maintain a full course of study,

  7   engaging in unauthorized employment, or other violations of their status

  8   requirements under 8 C.F.R. § 214.2(f). In addition, 8 C.F.R. §§ 214.1(e)–(g)

  9   outlines specific circumstances where certain conduct by any nonimmigrant visa

 10   holder, such as engaging in unauthorized employment, providing false information

 11   to DHS, or being convicted of a crime of violence with a potential sentence of

 12   more than a year, “constitutes a failure to maintain status.”

 13         18.    With the respect to the crime of violence category, 8 C.F.R. §

 14   214.1(g) sets forth that a nonimmigrant’s conviction “for a crime of violence for

 15   which a sentence of more than one year imprisonment may be imposed (regardless

 16   of whether such sentence is in fact imposed) constitutes a failure to maintain status

 17   . . . .” Minor misdemeanor offenses do not meet this threshold for termination

 18   based on criminal history.

 19         19.    The second category, termination of status by DHS, can occur only

 20   under the limited circumstances set forth in 8 C.F.R. § 214.1(d), which only

 21   permits DHS to terminate status when: (1) a previously granted waiver under INA

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  1   § 212(d)(3) or (4) [ 8 U.S.C. § 1182(d)(3) or (4)] is revoked; (2) a private bill to

  2   confer lawful permanent residence is introduced in Congress; or (3) DHS publishes

  3   a notification in the Federal Register identifying national security, diplomatic, or

  4   public safety reasons for termination. DHS cannot otherwise unilaterally terminate

  5   nonimmigrant status.3

  6             20.   Accordingly, the revocation of a visa does not constitute failure to

  7   maintain status and cannot therefore be a basis for SEVIS termination.4 If a visa is

  8   revoked prior to the student’s arrival to the United States, then a student may not

  9   enter and the SEVIS record is terminated. However, the SEVIS record may not be

 10   terminated as a result of a visa revocation after a student has been admitted into the

 11   United States, because the student is permitted to continue the authorized course of

 12   study.5

 13             21.   ICE’s own guidance confirms that “[v]isa revocation is not, in itself, a

 14   cause for termination of the student’s SEVIS record.”6 Rather, if the visa is

 15
      3
        See Jie Fang v. Dir. United States Immigr. & Customs Enf't, 935 F.3d 172, 185 n.
 16   100 (3d Cir. 2019).
      4
        The Foreign Affairs Manual provides that a visa may be revoked based on a DUI.
 17   Arrest or conviction. 9 FAM 403.11-3(A) (U) When You May Revoke Visas.
      However, a revocation is not authorized where the arrest has “already been
 18   addressed within the context of a visa application, i.e., the individual has been
      through the panel physician's assessment due to the arrest.” 9 FAM 403.11-5(B)
 19   (U).

 20
      5
       ICE Policy Guidance 1004-04 –Visa Revocations (June 7, 2010), available at
      https://www.ice.gov/doclib/sevis/pdf/visa_revocations_1004_04.pdf
 21
      6
          Id.
                                                   7
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  1   revoked, the student is permitted to pursue their course of study in school, but upon

  2   departure, the SEVIS record is terminated and the student must obtain a new visa

  3   from a consulate or embassy abroad before returning to the United States.7

  4            22.   While a visa revocation can be charged as a ground of deportability in

  5   removal proceedings, deportability can be contested in such proceedings.8 The

  6   immigration judge may also even dismiss removal proceedings where a visa is

  7   revoked, so long as a student is able to remain in valid status.9 Only when a final

  8   removal order is entered would status be lost.

  9            23.   A student who has not violated their F-1 status, even if their visa is

 10   revoked, cannot have a SEVIS record terminated based on a deportability ground

 11   alone.

 12            24.   The immigration courts have no ability to review the SEVIS

 13   termination here because the process is collateral to removal.10 There is also no

 14

 15
      7
       Guidance Directive 2016-03, 9 FAM 403.11-3 – VISA REVOCATION (Sept. 12,
 16   2016), available at https://www.aila.org/library/dos-guidance-directive-2016-03-on-
      visa-revocation.
 17
      8
       See 8 USC § 1227(a)(1)(B); 8 U.S.C. § 1201(i) (allowing immigration court
 18   review of visa revocation).

 19
      9
          8 C.F.R. § 1003.18(d)(ii)(B).

 20
      10
        See Nakka v. United States Citizenship & Immigr. Servs., 111 F.4th 995, 1007
      (9th Cir. 2024); Jie Fang v. Dir. United States Immigr. & Customs Enf't, 935 F.3d
 21   172, 183 (3d Cir. 2019).

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  1    administrative appeal of a denial to reinstate F-1 status. The termination of a

  2    SEVIS record constitutes final agency action for purposes of APA review.11

  3                                 FACTUAL ALLEGATIONS

  4             25.   Plaintiff Student Doe #3 is an international student in student status

  5    and authorized for OPT with SEVIS enrollment from a Los Angeles university              .

  6    They are from an Asian country.

  7             26.   Plaintiff is focused on their field of study and they have not engaged

  8    in any significant political activity.

  9             27.   Plaintiff first came to study in the United States on a student visa

 10    more than five years ago.

 11             28.   Plaintiff completed their degree and was issued a Form I-20 to

 12    engage in OPT, permitting employment after the completion of study.

 13             29.   On April 3, 2025, Plaintiff received notice from their university that

 14    their student visa was revoked and that their SEVIS status was terminated.

 15             30.   The basis provided for the termination was “otherwise failing to

 16    maintain status; individual identified in criminal record check; SEVIS record has

 17    been terminated.”

 18             31.   Plaintiff was informed to immediately stop employment.

 19             32.   On April 8, 2025, Plaintiff received notice that the reason for their

 20

 21
       11
            See Fang, 935 F.3d at 185.
                                                   9
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  1    termination had changed, and the reasons now stated were:

  2                   TERMINATION REASON: OTHER – Individual identified in
                      criminal records check and/or has had their visa revoked. SEVIS
  3                   record terminated.

  4          33.      Plaintiff is unaware of the factual basis for the termination of their

  5    SEVIS status.

  6          34.      Plaintiff’s only criminal history is a misdemeanor charge that was

  7    later dismissed. He has no conviction for a crime of violence.

  8          35.      DHS has not initiated removal proceedings against Plaintiff.

  9          36.      Plaintiff is highly valued by their employer, which desires for them to

 10    continue with OPT. However, Plaintiff may not be employed due to the SEVIS

 11    termination.

 12          37.      Since they received notice of their SEVIS termination, Plaintiff has

 13    been experiencing high levels of stress and anxiety. They are unsure of what will

 14    happen to them.

 15          38.      The SEVIS terminations have created havoc and uncertainty for

 16    schools as well. Upon information and belief, Plaintiff’s university was not given

 17    any advanced warning or further explanation for the termination of Plaintiff’s

 18    SEVIS status. Schools are scrambling to respond to these unprecedented actions

 19    and determine whether and how they can help their international students.12

 20

 21
       12
         See Liam Knox, How Trump is Wreaking Havoc on the Student Visa System,
       Inside Higher Ed, April 5, 2024,
                                                   10
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  1           39.    Intervention by the Court is necessary to remedy Defendants’ illegal

  2    conduct.

  3                                    CAUSES OF ACTION

  4                                FIRST CAUSE OF ACTION

  5                               Administrative Procedure Act
                                 (Unauthorized SEVIS Termination)
  6
              40.    Plaintiff incorporates the allegations in the paragraphs above as though
  7
       fully set forth here.
  8
              41.    Under § 706(a) of the APA, final agency action can be set aside if it is
  9
       “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with
 10
       law . . . in excess of statutory jurisdiction, authority, or limitations, or short of
 11
       statutory right; . . . [or] without observance of procedure required by law.” 5
 12
       U.S.C. § 706(2)(A), (C)-(D).
 13
              42.    Defendants have no statutory or regulatory authority to terminate
 14
       Plaintiff’s SEVIS record or status based simply on revocation of a visa.
 15
       Additionally, nothing in Plaintiff’s criminal history or other history provides a
 16
       basis for termination.
 17

 18

 19

 20

 21    https://www.insidehighered.com/news/global/international-students-
       us/2025/04/03/how-trump-wreaking-havoc-student-visa-system.
                                                   11
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  1           43.    Therefore, Defendant’s termination of Plaintiff’s SEVIS status is not

  2    in accordance with law, in excess of statutory authority, and without observance of

  3    procedure required by law.

  4

  5                              SECOND CAUSE OF ACTION

  6                                     Fifth Amendment
                                     (Procedural Due Process)
  7
              44.    Plaintiff incorporates the allegations in the paragraphs above as though
  8
       fully set forth here.
  9
              45.    Procedural due process requires that the government be constrained
 10
       before it acts in a way that deprives individuals of property interests protected
 11
       under the Due Process Clause of the Fifth Amendment.
 12
              46.    Once a student is lawfully admitted to the United States in F-1 status
 13
       and complies with the regulatory requirements of that status, the continued
 14
       registration of that student in SEVIS is governed by specific and mandatory
 15
       regulations. Because these regulations impose mandatory constraints on agency
 16
       action and because SEVIS registration is necessary for a student to remain enrolled
 17
       as an international student, Plaintiff has a constitutionally protected property
 18
       interest in their SEVIS registration. See ASSE Int'l, Inc. v. Kerry, 803 F.3d 1059
 19
       (9th Cir. 2015)(recognizing protected property interest in participating in exchange
 20
       visitor program); Brown v. Holder, 763 F.3d 1141, 1148 (9th Cir. 2014)
 21

                                                 12
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  1    (recognizing protected property interest in nondiscretionary application for

  2    naturalization).

  3           47.    Defendants terminated Plaintiff’s SEVIS record based on improper

  4    grounds without prior notice and without providing Plaintiff an opportunity to

  5    respond. The failure to provide notice of the facts that formed the basis for the

  6    SEVIS termination is a violation of due process under the Fifth Amendment.

  7                               THIRD CAUSE OF ACTION

  8                               Administrative Procedure Act
                                    (Procedural Due Process)
  9
              48.    Plaintiff incorporates the allegations in the paragraphs above as though
 10
       fully set forth here.
 11
              49.    Under § 706(a) of the APA, final agency action can be set aside if it is
 12
       “contrary to a constitutional right, power, privilege, or immunity.” 5 U.S.C. §
 13
       706(2)(B).
 14
              50.    Defendants terminated Plaintiff’s SEVIS record based on improper
 15
       grounds without prior notice and without providing Plaintiff an opportunity to
 16
       respond. The failure to provide notice of the facts that formed the basis for the
 17
       SEVIS termination is a violation of due process under the Fifth Amendment.
 18
              51.    Accordingly, Defendants’ action is contrary to a constitutional right.
 19
                                 FOURTH CAUSE OF ACTION
 20
                                  Administrative Procedure Act
 21                        (Arbitrary and Capricious SEVIS Termination)

                                                 13
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  1           52.    Plaintiff incorporates the allegations in the paragraphs above as though

  2    fully set forth here.

  3           53.    Under § 706(a) of the APA, final agency action can be set aside if it is

  4    “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

  5    law,” including if it fails to make a rational connection between the facts found and

  6    the decision made. 5 U.S.C. § 706(2)(A).

  7           54.    Defendants failed to articulate the facts that formed a basis for their

  8    decision to terminate Plaintiff’s SEVIS status in violation of the APA, let alone any

  9    rational connection between the facts found and the decision made.

 10           55.    Defendants’ action is therefore arbitrary and capricious.

 11

 12                                      PRAYER FOR RELIEF

 13           WHEREFORE, Plaintiff prays that this Court grant the following relief:

 14                  (1)       Assume jurisdiction over this matter;

 15                  (2)       Declare that the termination of Plaintiff’s SEVIS status was

 16                            unlawful;

 17                  (3)       Vacate and set aside DHS’s termination of Plaintiff’s SEVIS

 18                            status;

 19                  (4)       Order that Defendants restore Plaintiff’s SEVIS record and

 20                            status;

 21                  (5)       Award costs and reasonable attorney fees under the Equal

                                                    14
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  1                      Access to Justice Act, 28 U.S.C. § 2412(b); and

  2                (6)   Grant such further relief as the Court deems just and
                         proper.
  3

  4
       Dated: April 8, 2025                 Respectfully Submitted,
  5

  6                                         /s/ Stacy Tolchin
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